                                       Case 4:22-md-03047-YGR                Document 1943      Filed 05/06/25      Page 1 of 3




                                   1                                  UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                        IN RE: SOCIAL MEDIA ADOLESCENT                        Case No. 4:22-md-03047-YGR
                                   4
                                        ADDICTION/PERSONAL INJURY
                                   5    PRODUCTS LIABILITY LITIGATION
                                                                                              APPLICATION FOR ADMISSION
                                   6                                                          OF ATTORNEY PRO HAC VICE;
                                                                                              ORDER
                                   7                                                          (CIVIL LOCAL RULE 11-3)

                                   8

                                   9

                                  10           I, Justin Olson                  , an active member in good standing of the bar of

                                  11   State of Washington                      , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: Nuala Mullen                         in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Laura Marquez-Garrett               , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-counsel’s bar number is: _________________.
                                                                                                          221542

                                  16    600 1st Avenue, Suite 102-PMB 2383                     600 1st Avenue, Suite 102-PMB 2383
                                        Seattle, WA 98104                                      Seattle, WA 98104
                                  17    MY ADDRESS OF RECORD                                   LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   (206) 741-4862                                         (206) 741-4862
                                        MY TELEPHONE # OF RECORD                               LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       justinolson@socialmediavictims.org                     laura@socialmediavictims.org
                                  20    MY EMAIL ADDRESS OF RECORD                             LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22           I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 51332                  .
                                  24           A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                   0
                                               I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
                                       Case 4:22-md-03047-YGR            Document 1943         Filed 05/06/25       Page 2 of 3




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: 4/24/2025                                              /s/ Justin Olson
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Justin Olson                            is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated: May 6, 2025

                                  16

                                  17                                                   HON. YVONNE GONZALEZ ROGERS
                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                       Updated 11/2021                                   2
        Case 4:22-md-03047-YGR             Document 1943         Filed 05/06/25       Page 3 of 3




    IN THE SUPREME COURT OF THE STATE OF WASHINGTON

                                                           )
      IN THE MATTER OF THE ADMISSION                       )                    BAR NO. 51332
                                                           )
                          OF                               )                    CERTIFICATE
                                                           )
                   JUSTIN OLSON                            )                           OF
                                                           )
TO PRACTICE IN THE COURTS OF THIS STATE                    )                  GOOD STANDING
                                                           )
____________________________________________



       I, Sarah R. Pendleton, Clerk of the Supreme Court of the State of Washington, hereby certify


                                            JUSTIN OLSON

was regularly admitted to practice as an Attorney and Counselor at Law in the Supreme Court and all the

Courts of the State of Washington on October 13, 2016, and is now and has continuously since that date

been an attorney in good standing, and has a current status of active.



                                                       IN TESTIMONY WHEREOF, I have
                                                       hereunto set my hand and affixed
                                                       the seal of this Court on the 22nd day of
                                                       April, 2025.



                                                       Sarah R. Pendleton
                                                       Supreme Court Clerk
                                                       Washington State Supreme Court
